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                      UNITED STATES COURT OF APPEALS                       FILED
                              FOR THE NINTH CIRCUIT                         FEB 14 2023
                                                                        MOLLY C. DWYER, CLERK
                                                                         U.S. COURT OF APPEALS
In re: GOOGLE PLAY STORE                          No.    22-16921
SIMULATED CASINO-STYLE GAMES
LITIGATION,                                       D.C. No. 5:21-md-03001-EJD
______________________________                    Northern District of California,
                                                  San Jose
JENNIFER ANDREWS; et al.,
                                                  ORDER
                  Plaintiffs-Appellees,

  v.

GOOGLE LLC; GOOGLE PAYMENT
CORP.,

                  Defendants-Appellants.


In re: GOOGLE PLAY STORE                          No.    22-16923
SIMULATED CASINO-STYLE GAMES
LITIGATION,                                       D.C. No. 5:21-md-03001-EJD
______________________________

JENNIFER ANDREWS; et al.,

                  Plaintiffs-Appellants,

  v.

GOOGLE LLC; GOOGLE PAYMENT
CORP.,

                  Defendants-Appellees.



       This case is RELEASED from the Mediation Program.

Mediation
            Case: 22-16921, 02/14/2023, ID: 12653273, DktEntry: 9, Page 2 of 2




       Counsel are requested to contact the Circuit Mediator should circumstances

develop that warrant settlement discussions.

       The briefing schedule previously set by the court is amended as follows:

the first brief on cross-appeal is due July 24, 2023; the second brief on cross-appeal

is due September 25, 2023; the third brief on cross-appeal is due November 13,

2023; and the optional cross-appeal reply brief is due December 18, 2023.


                                                FOR THE COURT:

                                                By: Steven J. Saltiel
                                                Circuit Mediator




Mediation                                   2
